John C. Pharr. Esq.
LAW OFFICES OF JOHN C. PHARR, P.C.
733 West Fourth Ave., Ste 308
Anchorage, Alaska 99503
Telephone: (907) 272-2525
Fax: (907) 277-9859

Attorneys for Plaintiffs
United States for the Use and Benefit of
Dennis C. Bowen d/b/a Bowen General Contractors
and Dennis C. Bowen d/b/a Bowen General Contractors

                             UNITED STATES DISTRICT COURT
                                  DISTRICT OF ALASKA

UNITED STATES FOR THE USE AND             )
BENEFIT OF DENNIS C. BOWEN d/b/a          )
BOWEN GENERAL CONTRACTORS and             )
DENNIS C. BOWEN d/b/a BOWEN GENERAL       )             COMPLAINT FOR BREACH
CONTRACTORS,                              )             OF CONTRACT AND
                                          )             RECOVERY UNDER MILLER
                  Plaintiffs,             )             ACT PAYMENT BOND
                                          )
vs.                                       )
                                          )
GRANITE PETROLEUM, INC. and FIRST         )
NATIONAL INSURANCE COMPANY OF             )
AMERICA, PAYMENT BOND NO. 6719081,        )
                                          )
                  Defendants.             )
__________________________________________)                 Case No. ____________

                                        JURISDICTION

       1.        This Court has subject matter jurisdiction pursuant to the 28 U.S.C. § 1331 and

the provisions of the Miller Act, 40 U.S.C. § 3133(b)(3)(B). The Court has pendent jurisdiction

and supplemental jurisdiction over the state law claims alleged in this Complaint pursuant to 28

U.S.C. § 1367.




                                                1



            Case 3:13-cv-00083-SLG Document 1 Filed 05/22/13 Page 1 of 4
                                             VENUE

       2.      The contract at issue was to be performed and executed in Alaska.            Venue

therefore lies in the United States District Court for the District of Alaska pursuant to 40 U.S.C.

§3133(b)(3)(B) and 28 U.S.C. §1391(b)(2).

                                           PARTIES

       3.      Plaintiff Dennis C. Bowen d/b/a Bowen General Contractors is a licensed and

bonded sole proprietor, with its principal place of business in 16883 Outer Springer Loop,

Palmer, Alaska 99645. It is a licensed and bonded contractor in the State of Alaska.

       4.      Defendant Granite Petroleum, Inc. is a Washington corporation, organized and

existing under the laws of the State of Washington, with is principal place of business in

Spokane, Washington.

       5.      Defendant First National Insurance Company of America was organized under the

laws of the State of Washington.

                                   STATEMENT OF FACTS

       6.      On or before May 5, 2011, defendant Granite Petroleum contracted with the U.S.

Army Corps of Engineers (USACE), on the federal project known as the “Brigade Complex

Phase 1 Fueling Facility Fort Richardson, Alaska,” pursuant to Contract No. W911KB-11-C-

0008 (hereinafter “Prime Contract”).

       7.      On or about May 10, 2011, defendant Granite Petroleum obtained Miller Act

Payment Bond No. 6719081 (hereinafter the “Bond”) from defendant First National Insurance

Company of America in the amount of $5,515,320.00. In the Bond, First National agreed to be

bound “jointly and severally with Granite Petroleum to make payment to all persons having a

direct contractual relationship with Granite Petroleum or to any subcontractor of Granite

                                                2



            Case 3:13-cv-00083-SLG Document 1 Filed 05/22/13 Page 2 of 4
Petroleum who furnished labor, material or both in the prosecution of the work provided for in

the Prime Contract, in the event that Granite Petroleum failed to make prompt payment to such

persons."

         8.       On or about September 29, 2011, Granite Petroleum contracted with plaintiff

Bowen General Contractors (hereinafter the “Subcontract”) to provide all supervision, tools,

labor, and equipment based on plans provided by Granite Petroleum dated 6/1/11, to erect three

metal canopies and install a roof on an administrative building.

         9.       Bowen General Contractors completed its work on or about August 3, 2012, all of

which work was furnished in the prosecution of the work provided for in the Prime Contract and

specifications.

         10.      Granite Petroleum failed to pay Bowen General Contractors $64,224.01 due under

the Subcontract in accordance with Bowen General Contractor's final invoice dated August 6,

2012 and more than 90 days have passed since its failure to pay.

         11.      Bowen General Contractors is owed a total of $64,224.01 pursuant to the terms of

the Subcontract.

                                          COUNT I
                                    (BREACH OF CONTRACT)

         12.      Plaintiff repeats and realleges paragraph 1 through 11 above as though fully set

forth.

         13.      Plaintiff performed all of his obligations under the Subcontract.

         14.      Granite Petroleum breached the Subcontract in that it has failed and refused to

pay plaintiff in full as provided for in the Prime Contract and pursuant to the Subcontract.

         15.      Plaintiff suffered damages in the principal amount of $64,224.01 as a direct and

proximate result of Granite Petroleum's breach of contract.
                                                   3



              Case 3:13-cv-00083-SLG Document 1 Filed 05/22/13 Page 3 of 4
                                       COUNT II
                              (MILLER ACT PAYMENT BOND)

        16.     Plaintiff repeats and realleges paragraph 1 through 11 above as though fully set

forth in this claim.

        17.     Defendant First National Insurance Company of America is obligated, pursuant to

the Bond, to pay Bowen General Contractors for the labor, materials and services it furnished in

the prosecution of the work provided for in the Prime Contract, and for which Granite Petroleum

failed to make payment.

        18.     Plaintiff is entitled to payment from First National Insurance Company of

America in the principal amount of $64,224.01 pursuant to the Miller Act, 40 U.S.C. § 3133.

                                     PRAYER FOR RELIEF

        WHEREFORE, plaintiff prays as follows:

        1.      For a judgment against defendant Granite Petroleum in the principal amount of

$64,224.01;

        2.      For a judgment against the Payment Bond underwritten by First National

Insurance Company of America $64,224.01

        3.      For all allowable costs and attorney’s fees incurred herein; and

        4.      For such other and further relief as the Court may deem just and proper.

Dated: 3-14-12                                LAW OFFICES OF JOHN C. PHARR, P.C.
                                              Attorneys for Plaintiffs United States for the Use
                                              and Benefit of Dennis C. Bowen d/b/a Bowen
                                              General Contractors and Dennis C. Bowen d/b/a
                                              Bowen General Contractors

                                               By: /s/ John C. Pharr___________________
                                                   John C. Pharr, ABA 8211140



                                                 4



             Case 3:13-cv-00083-SLG Document 1 Filed 05/22/13 Page 4 of 4
